                                 Case 2:11-cv-01162-TS Document 1 Filed 12/14/11 Page 1 of 1

JS 44 (Rev. 09/1 J)                                                          CIVIL COVER SHEET
TheJS44civilC()verSheetandtheinformationcon~.hereinneitherrePlllClln<?l'SUPplcrrnpntlhefilingand7seryiceof~catin~orotherfrc~7~?'Yl:~~~~=
by local rules ofcourt. This fonn. approved by the Judicial Conference of the Umted States m September 19 4, IS cequ.."" or e use 0 t e o or                                             y - ....­
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PltGE OFT1iIS FORM.)
                                                                  DEFENDANTS
I. (a) PLAINTIFFS
JEANNE REDO. Individually and as PR of the ESTATE OF DR. JAMES United States of America. through its federal agencies: Federal
REDO, and JAY REDO, JERICCA REDO, JAVALAN REDO, JAMAICA          Bureau of Investigation; Department of Justice; and Bureau of Land
REDO LYMAN and JASMINE REDO, individually & as heirs of Dr. REDO Management
     (b) County of Residence ofFiRt Ulifed Plaintiff Utah County                                            County of Residence of First Listed Defendant
                           (EXCEPT IN us. PLAJN11FF CASES)                                                                               (IN u.s. Pl..AlN17FF CUBS ONLY>
                                                                                                            NOTE:                      IN LAND CONDEMNATiON CASES. USE THE LOCATION 01'
                                                                                                                                       THE TRAer 01' LAND INVOLVED.


                                                                                                             AtIOrIICys (f/ Knowtl)



                                                                                               m. cmZENSHIP OF PRINCIPAL PARTIES (P1acI till -r ;11 On, &x.jor p/QInrl!fJ
                                                                                                        (For Dil'IIrslry Caus Only)                                        and Om! Boxfor Dlfondonl)
o    I U.5.G<M:rnment                  o   3 Federal Question                                                                     P1'F      OEF                                            P1'F       DEF
          PIalllliff                            (US. GoWlnlllleltl NOI /1 Parry)                   Citizen of This Stare           0 I      0 1 Incorporated or Principal Place             0 4 04
                                                                                                                                                      of Business In This SIlIkI

flt 2 U.s. Government                  04 Diversity                                                                                o   2    CJ    2   Tmorporalocl and Principal Place      CJ S      0 S
            Defendant                           (lndica," Cjtl~"Mhip OfParr/.lln Iterl! Ill)                                                            or Business In AlIOtber State

                                                                                                                                   o   3    0     3   ~Ip     Natioo                        o     6   06

 IV. NATURE OF SUIT                    (Placlan ·X" in OM Box On )

 CJ 1I0lns\IJ1IIICe                      PERSONAL INJURY                 PERSONAL INJURY           (] 625 Drug Rolaled Scinml          o 422 Appeal 28 USC ISS             o  375 PaI:sc Claims Act
 o  J20 Marino                        0 310 Airpl_                    (] 365 PcnouaIlnjlny -              or Prqleny 21 USC 881        o 423 WillKlnlwal                   o  400 Stale R.capportiomneII
 o 130 Millet M:I                     0 31S Airplane Product                 Product Liability     o  6900Ibcr                                   28 USC IS7                o 410 AnIillUSl
 CI 140 Negotiable Insmnncnt                  Uabilky                 0 367 Health Can!)                                                                                   o 430 Banks and Banking
 o ISO Recovery ofOverpayrrtelll      (] 320 Assauk, Ubcl &:                 Pharmaceullcal                                                                                o 450 Commt:rce
        &: IWm<:emeIIl or Judgment.           Slander                        Pcnonallnjury                                                                                 o 460 Dcpon.ation
 o lSI Modk:are Act                   0 330 l'Ildc:qJ Employers'             Product l.ia.bIlity                                                                           o 470 Ractoteer lDflueneed and
 o 152 Recovery of Def.wled                   Uability                0 368 Asbostos Personal                                                                                     COmJpt Orpnizariona
        Studcut Loans                 CJ 340 MarIne                           ll\iury Product                                                                              o 480CollllUmerCmlIt
        (Excl. Vetlnm>                (] 345 Marine Product                   U.bUily                                                                                      o 490 QlbIc&t TV
 o 153 Recovery ofO""'Plymolll                Lirlbility                PERSONAL PROPERTY          0 710 Pair Labor SllIIIdanls        a   86! HIA(l39Sff)                 o 850 SccurilicflCommodilielll
        orv_'s BalIlfits              0 350 Motor Vehicle             0 370 Otbet f'mId                   M:I                          o 862 Black Lullg (923)                    BlIclwtp
 (] 160 Sloctholdcml' Suits           " 355 Mo«)I'Vehicle             0 371 TMh In Lending         0 720 LaborIM&l1\l. ReI.lIons       o 863 DtWCfDIWW (40S(a)             (] 890 Other StalUlory AI:tions
 (] 190 OIlIer CIlIIII'1ICI                                           0 380 Other Personal         0 74() Railway Labor Act            o 864 ssw TItle XVI                 o 891 A.3ricultural AclJ
 o 195 Contnlct Product Liability
 o 19H-ruebise
                                      .360   Produot Uabilily
                                             OIlIer I'enoIIaI
                                             Injury
                                                                             Proporty Dam.ae
                                                                      0 3BS Property Damaac
                                                                                                   " 751 Pamily and Medical
                                                                                                          !.eave Act
                                                                                                                                       o 865 RSI(405(g»                    o 893 Eevlronmenlal MIllen
                                                                                                                                                                           o 119' ~ of Infclnnllioo
                                      o J62 PmonallDjury •                   Product Uabilily      0 190 OIlIer Labor Uliplioo                                                     M\
                                                                                                                                                                           o
'1I~iiI~~ii~?I!!!S~~Med.~~M~~·'-'I!!JI~~~ii~gsji!l0 791 Secwity
                                                                                                                                                                               8!16 Arbitration
":l                                                     Empl. Rei.
                                                                ActInc.                                                                                                    o   899 AdlniDi5tralive Procedure
 o 210 L&nd Condemnation              0 440 OIlIer Civil Ri8/l1S      0 510 MoIioos 10 Vacate                                          o   870 Tw:.s (U.s. PIJdmiff               ActlR.eYiew or Appeal of
 o Z20 Fo.recIolUR                    0 441 VoIillg                        Sentence                                                            or Defendant)                      Agt:tq Dec:ilioo
 o 230 Reot Lwc &: Ejettment          0 442 Employment                   Babais Corp1ll:                                               o   87llRS-ThUd Party               (] 930 Coos\ihltioulily of
 o 240 Tort. to L&nd                  0 443 HousIng(                  0 530 OIll1enl                                                             26USC7~                         StalcS_
 o 245 Tort Product Liability                Accommodatiom            0 53S Deatb Pepajly
 o 290 All 0IIler Real PtopMy         0 44$ AnIcr. wlOi5llbiUties -   0 540 Mandamus &: OIlIer     o              IZ8UOn AppbcatlOll
                                             Employment               (] 'SO eMl RilhlS            o 463 Habeas CQlPUS ­
                                      CJ 446 Amor. wlDlsabilities -   0 555 Prillln Condilion             Alien DIltai!lee
                                             OIlIer                   0 560 Civil Detainee •              (PriSOllCf l'eritlon)
                                      (] 448 Educatioo                        Cl)nditioos of       o 465 Other lnJJnItratioo
                                                                              Confinement                 AcOOtls

 V. ORIGIN                  (Ploct an "X-In One Box Only)
 ~l      Original       o    2 Removed from          0 3 RemmKled from            0 4 Reinstated or I:J S Tran5f~ {rom 0 6 Multidistrict
         ProCeeding            State Court                   Appellate Court               Reopened                      anotber district               Litigation
                                       Cite tbe u.s. Qvil Statute under which you lire fi ling (Do IIPt cite j/lrlJidklilHlfllllllllldltl ",,'- .niIy):
 VI. CAUSE OF ACTION                         28 USCA            2671 et se • Federal Tort Claims Act
                                           Brief description of cause:
                        Ne r nee' abuse of rocess' infliction of emotional distress' and wron 101 death er mi uided law enforcement.
 VB. REQUESTED IN      (J CHECK IF THIS IS A CLASS ACTION       DEMAND $                      CHECK YES only if demanded In complaint:
     COMPLAINT:           UNDERF.R.C.P.23                                                     JVRYDEMAND:          OYes      I"J:No
 VIII. RELATED CASE(S)
       IF ANY                            JUOOR     Hon. Ted Stewart                      DOCKET NUMBER 2:11..cV.()()478-TS
 DATE                                                                    SGNATURB OF ATTORNEY OF RSCORD
  1211412011                                                            lsi Edward P. Moriarity
 fOR oFFiCi USE ONLY
     RI!CElPl'1/                AMOUNT                                      API'LYlNG IPP
                   --------                  -------------                                                                   Case: 2:11-cv-01162
                                                                                                                             Assigned To : Alba, Samuel
                                                                                                                             ASSign. Date: 12/14/2011
                                                                                                                             Description: Redd et al v. USA
